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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MINNESOTA

 JAMES ANDREW GRIMMER,                            Civil Action No.: 0:25-cv-01024-PJS-DTS

               Plaintiff,

 vs.
                                                  CERTIFICATE OF SERVICE
 CAPITAL ONE, N.A.; and
 GURSTEL LAW FIRM, P.C.

               Defendants.



I hereby certify that on April 18, 2025, I caused the following documents:

   1. Defendants’ Capital One N.A. and Gurstel Law Firm’s
      Memorandum in Opposition to Plaintiff’s Motion to Remand; and
   2. Declaration of Patrick D. Newman with Exhibits A & B.

to be electronically filed with the Clerk of Court through the Court's Electronic Court Filing
system and that ECF will send an electronic notice of the filing to the following attorneys:

                                      Not Applicable

I further certify that I caused a copy of the foregoing documents and the notices of
electronic filing to be served upon the following non-ECF participants:

                                James Andrew Grimmer
                                2723 Wagon Wheel Curv.
                                Chaska, Minnesota 55318
                                           -


BY:
  U.S. MAIL                                            FACSIMILE
  HAND DELIVERED                                       OVERNIGHT COURIER
  FEDERAL EXPRESS                                      OTHER




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                                   Respectfully submitted,

                                   BASSFORD REMELE
                                   A Professional Association

Dated: April 18, 2025       By: /s/ Patrick D. Newman
                                Patrick D. Newman (MN #395864)
                                100 South Fifth Street, Suite 1500
                                Minneapolis, MN 55402
                                Telephone: (612) 333-3000
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                                   Attorneys for Defendants, Gurstel Law Firm,
                                   P.C. and Capital One Bank, N.A.




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